Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 1 of 26 PageID #: 17191




                         EXHIBIT D
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 2 of 26 PageID #: 17192
   Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 3 of 26 PageID #: 17193


                                                    TRANSLATION




Honorable Judge

Brain [sic] M Cogan

I, Gustavo Rodríguez, ID 30692510, greet you with the utmost respect to let you know
that I have known Mr. Genaro Garcia Luna since March, 2024. From the very first day
I met him he has been very helpful and has offered his assistance to the fellow
inmates, as well as has helped them with classes to get ready for the GED test and
all other programs offered to us at the facilities of the MDC, Brooklyn. He also
encourages many fellow inmates to get trained, to continue to study, to read and to
practice sports; he usually gives us very informative talks, as he has a great deal of
knowledge of various subjects, which is particularly helpful to the fellow inmates,
especially in the situation in which we find ourselves. I have never seen him violate
any of the institution’s rules; on the contrary, he motivates the fellow inmates to go on
and abide by the rules required of us by the institution.
I bid you farewell with the utmost respect and hope that these lines may help to
reflect what Mr. Genaro Garcia Luna represents among the fellow inmates at this
institution, the MDC, Brooklyn.


                                  s/Gustavo Rodriguez
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 4 of 26 PageID #: 17194
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 5 of 26 PageID #: 17195



                                               TRANSLATION1



  Honorable Judge Brian M. Cogan

  This is to advise you that I have known Mr. Genaro García Luna since I arrived here at the MDC, Brooklyn.
  I am pleased to speak about this man because it is an honor. Mr. García Luna is an excellent educator,
  who cares about each one of his GED and ESL students. Although I am not a student of his, he personally
  teaches me science, values and manners.
  Mr. García Luna is an excellent person.

                                                          s/Omar Castro López
                                                          19030-069




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      Translator’s Note: Handwritten letter.
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 6 of 26 PageID #: 17196
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 7 of 26 PageID #: 17197
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 8 of 26 PageID #: 17198



                                                TRANSLATION1



  Honorable Judge
  Brian M. Cogan

  I am Oscar Correa Arango, imprisoned at the MDC, Brooklyn, since February 3, 2021. I have had the
  privilege of meeting Mr. Genaro García Luna at this place, a very generous person with his abilities and
  knowledge. He is very educated and is greatly committed towards other people.

  Among other things, he is known over here as being the teacher of all of us who want to pass the GED
  exam. He holds the record as being the teacher with the most students who have passed this exam at
  this institution.

  He is a leader organizing everything useful to us inmates.

  He is a very disciplined person and a lover of sports. To me, personally, he is a great gentleman.

  Vty,

             s/Oscar Correa Arango
             No. 65803-510




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      Translator’s Note: Handwritten letter.
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 9 of 26 PageID #: 17199
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 10 of 26 PageID #: 17200



                                               TRANSLATION1




                                                                                                   8/28/24

  Honorable Judge
  Brian M. Cogan

  My name is Ramon Romero, #64230-509, an inmate at the MDC, Brooklyn.

  I am writing to talk to you about Mr. Genaro García Luna.

  I have known him for about two-and-a-half years. As far as I am concerned, Mr. Genaro has been a great
  help, to whom I am immensely grateful. Thanks to him, I now have my GED diploma.

  He is a person who is always willing to help other people. He always takes time out of his own time to
  give us advice and to motivate us when we get this situation over with to be able to reintegrate into
  society, to be better persons and to be able to go on studying to do things right.

  Mr. Genaro is a great human being with a great deal of integrity and many values, whom I respect a lot.




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      Translator’s Note: Handwritten letter.
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 11 of 26 PageID #: 17201
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 12 of 26 PageID #: 17202



                                                TRANSLATION1



  Honorable Judge
  Brian M. Cogan

  My name is Rehinner Montoya García, inmate # 65799510. I have known Mr. Garcia Luna Genaro for a
  very few months but this has been sufficient, Honorable Judge, to feel a great deal of respect and
  admiration for that man.

  Your Honor, Mr. Genaro has devoted his time to sharing his great knowledge with each and every one of
  us, without any qualms or compensation. He has helped us with our programs and GED studies, so that I
  and many of my fellow inmates have successfully completed it.

  Honorable Judge, during this horrible time in prison and throughout the months I have spent in this
  building, the MDC, Brooklyn, he has been a very important and motivating individual, who has taught us
  that things are possible and “yes, we can” achieve it through study.

  Your Honor, Brian M. Cogan, I have never seen an individual champion a cause so much, knowing that he
  would jeopardize his freedom, his home, his family.

  Honorable Judge, it is a great pleasure to write to you and to try to contribute on behalf of our fellow
  inmate, albeit by this brief letter, thus thanking him a little for everything he has done for us.

  Thank you very much for your attention. God bless you.


             s/Rehinner Montoya




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      Translator’s Note: Handwritten letter.
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 13 of 26 PageID #: 17203
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 14 of 26 PageID #: 17204
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 15 of 26 PageID #: 17205
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 16 of 26 PageID #: 17206
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 17 of 26 PageID #: 17207



                                                  TRANSLATION1




  Judge: Brian M. Cogan

  My name is Jose Facundo Zarate Morales, #78530-509, living at the MDC, Brooklyn.

  I am writing this letter to let you know that Genaro García Luna is an impressive human being. He is
  always helping all people in the unit in order for them to be able to better themselves and to be better
  citizens.

  He gives them a lot of positive advice so they can take good decisions in their lives. Personally, he always
  cares about my children and my family, he always encourages me to keep on going.

  He is a polite man and, above all, respectful. He devotes his time and energy to helping other people so
  they can make progress, he is a very good example for all.

  He is very kind, sincere but, in particular, he is a true friend who is always willing to sacrifice for others;
  he is an excellent person and is always helping me and giving me advice to be able to take the right
  decisions in life. He is one of my best friends to me.




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      Translator’s Note: Handwritten letter.
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 18 of 26 PageID #: 17208
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 19 of 26 PageID #: 17209
        Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 20 of 26 PageID #: 17210



                                                            TRANSLATION



 TRULINCS 10568506 - GIRALDO-CARDOZA, EDUARDO F - Unit: BRO-K-B



FROM: 10568506
TO: Eve, Eve
SUBJECT: legal
DATE: 08/28/2024 02:35:44 PM


Honorable Judge


Brian M Cogan

My name is Eduard Fernando Giraldo Cardoza, my ID is 10568506.

I respectfully address myself to Your Honor to state that I have known MR Genaro García Luna for eight months. He is an
individual with a lot of initiative, who teaches his fellow inmates how to deal with the programs offered to us by the facility, MDC,
Brooklyn. He is also a person with great humanity, he is always kind to everyone, he is willing to help to the extent that he can. He is
very quiet and peace-loving. Thank you very much for your esteemed attention.
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 21 of 26 PageID #: 17211
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 22 of 26 PageID #: 17212
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 23 of 26 PageID #: 17213



                                                 TRANSLATION1



  Honorable Judge Brian M. Cogan

  I am writing this letter to you today in order to let you know my reasons why I think Mr. Genaro Garcia
  Luna is a good person with many qualities, which you could thus take into account and be lenient at the
  time of his sentencing.

  I could start out by saying that he is a respectful individual, very kind, and he is always willing to help
  others. I can also attest that he is a person who cares and who is always committed to teaching. As
  evidence I can tell you that, thanks to him, myself and many of my fellow inmates managed to pass the
  GED exam. Another thing I can say is that Mr. García Luna instills good values in us all the time, he guides
  us and gives us good advice.

  To conclude, all I have to say is that if I were to tell you each and every one of the good things Mr. Garcia
  Luna has done for us and many people, I would never finish writing this letter. My name is Jay Cardenas
  and I am at the MDC. Thank you very much.




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      Translator’s Note: Handwritten letter.
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 24 of 26 PageID #: 17214
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 25 of 26 PageID #: 17215
Case 1:19-cr-00576-BMC Document 266-4 Filed 09/25/24 Page 26 of 26 PageID #: 17216
